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14
                           UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
16
      In re: Hyundai and Kia Engine                   Case No. 8:18-cv-02223-JLS-JDE
17    Litigation II
18                                                    APPLICATION FOR LEAVE TO
                                                      FILE UNDER SEAL PORTIONS OF
19                                                    DECLARATION OF BONNER C.
20                                                    WALSH IN SUPPORT OF
                                                      PLAINTIFFS’ SECOND
21                                                    SUPPLEMENTAL BRIEF
22                                                    REGARDING OBJECTIONS AND
                                                      SUMMARY OF SETTLEMENT
23                                                    ADMINISTRATION
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      APPL. FOR LEAVE TO FILE UNDER SEAL
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 1          Under Local Rule 79-5.2.2(a), Plaintiffs file this Application for leave to file
 2    under seal portions of the Declaration of Bonner C. Walsh in Support of Plaintiffs’
 3    Second Supplemental Brief Regarding Objections and Summary of Settlement
 4    Administration to avoid educating potential fraudsters on how better to evade detection
 5    in submitting fraudulent settlement claims. Specifically, Plaintiffs seek to file under seal
 6    the entire section entitled “Potentially Fraudulent Claims” and all content in Exhibits A
 7    and C to the Declaration.
 8          In accordance with Local Rule 79-5.2.2(a), Plaintiffs’ Counsel conferred with
 9    Defendants’ counsel about this Application on January 17, 2024, and Defendants do not
10    oppose filing said portions of the Declaration under seal.
11          In support of this Application, Plaintiffs submit the Declaration of Bonner C.
12    Walsh, which establishes good cause as to why the material should be sealed and attests
13    that there is no known opposition to such sealing.
14                                         Relief Requested
15          Plaintiffs respectfully request that the Court grant their Application for leave to
16    file under seal the above-mentioned portions of the document.
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18    DATED: January 17, 2024                 Respectfully submitted,
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                                              /s/ Steve W. Berman
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